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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


  ANDY KIM, et al.,
                                           Civil Action No.: 3:24-cv-01098
          Plaintiffs,

  v.

  CHRISTINE GIORDANO HANLON,               [PROPOSED] ORDER
  in her capacity as Monmouth County
  Clerk, et al.,

          Defendants.


       THIS MATTER, having come before the Court on the motion of Liza

 Weisberg, Esq., attorney for the American Civil Liberties Union of New Jersey

 (“ACLU-NJ”), and the Court having considered the arguments, and for good cause

 shown,

       It is on this _____ day of ____________________, 2024,

       ORDERED that the ACLU-NJ is granted leave to participate as amicus

 curiae in this matter, and, as such, the ACLU-NJ’s proposed brief is accepted is

 and hereby deemed filed.



                                          ______________________________
                                          Hon. Zahid N. Quraishi, U.S.D.J.
